                                 CASE 0:20-cr-00113-DSD-BRT Doc. 31 Filed 02/25/21 Page 1 of 1


AO 442 (Rcv. I l/l       l)   Arrcst Warranl
                                                                               COPY
                                                      UurBo SrarBs Drsrnrcr                                 CoURT
F#9826799                                                                            for the

                                                                             District of Minnesota
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                                                                                                                                                  FEB        25    2021
                         United States of America
                                                                                                                            CLERK, U.S. DISTHICT COURT
                                          V.                                           )
                                                                                       )         case No. cR 20-l l3(l) DSD/BRr sT. PAUL, MINNESoTA
                                                                                       )
                                  Jose   A Felan, Jr.                                  )
                                                                                       )
                                                                                                   RECEIVED
                                                                                       )          By U.S. Marshal, Saint Paul, MN at7:54 am, Jul 24,2020
                                      Defendant


                                                                       ARREST WARRANT
To:         Any authorized law enforcement officer

            YOU ARE COMMAI\DED to arrest and bring before                                  a United States magistrate judge   without unnecessary delay
(name ofperson to be           arrested)       Jose   A Felan.   Jr.
who is accused of an offense or violation based on the followins document filed with the court:

      Indictment /                       Superseding Indictment                  Information Superseding Information                              Complaint
      Probation Violation Petition                               Supervised Release Violation Petition Violation Notice                           Order of the Court

This offense is briefly described as follows:                                                                    Pretrial Release Violation Petition
Count(s) 1,3,4- Arson, l8:844(i)




Date:              07/2412020



City and      state:          Minneapolis, MN



                                                                                    Return

             This warrant was received on                   @ate)                           , and the person was arrested on ror4
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at   (cit1t and state)
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Date:                                                2/,      [---;a I                                                                                 c\ffifi
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                                                 DISTRICT OF MNNESOTA
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                                         BY
